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ZACHARYW. CARTER                         THE C\TV OF NEW YORK
Corporation Counsel
                                        LAW DEPARTMENT                                              Susan P. Scharfstein
                                              100 CHURCH STREET                        SpecialFederalLitigationDivision
                                              NEWYORK, NY 10007                                           212-356-2355
                                                                                              Facsimile: (212) 356-3509
                                                                                                   sscharfsSilaw. nyc. eov


                                                                 September 13, 2019

     Honorable Sarah Netbum (by ECF)
     United States Magista-ate Judge
      Southern District of New York
     40 Foley Square
     NewYork, NY 10007

                      Re: Paul et al. v. Cit ofNew York et al., 16 CV 01952 (VSB) (SN)

     DearMagistrateJudgeNetbum:

                    I represent the City of New York and ten individual defendant members of the
     NYPD ("City Defendants")in this action. I write to request, with the consent of all parties, that the
     Court allow City Defendants to conduct the depositions of three non-party witnesses past the
     current deadline of September 13, 2019, to the next scheduled conference. For the reasons below,
     City Defendantsbelieve that there is good causefor the Court to grantthis applicationon consent.

                      As previously reported to the Court on August 1, 2019, City Defendants have long
     sought diligently to locate and depose five non-party witnesses who are believed to have
     information cohcemmg the underlying incident involving plaintiffs decedent, Anthony Paul, that
     took place at Narco Freedom House #19, a.three-quarter facility, in the Bronx, New York, on July
     1 and 2, 2015. Two of the five witnesses, Curtis Joseph and Charles Webb, appeared in response to
     subpoena. Two of the remaining witnesses, fonner Narco Freedom House # 19 staff members
     RafaelPerez and Terrence Thomas, failedto appearon the subpoenaeddates. This officehasheard
     nothing from Mr. Perez and has no explanation for his failure to appear. We wish to make further
     inquiries to attempt to locate him and communicate the importance of complying with the subpoena.

                     Mr. Thomas contacted me by telephone on the subpoenaed date, September 6, 2019,
     shortly before the deposition was to commence at 10:00 a.m. He infonned me that he was running
     late as a result of having been held over at work, and would appear at my office no later than 1:00
     p.m. Although counsel had already convened at my office at 10:00 a.m., it was necessary to
     reconvene several hours later. All counsel awaited Mr. Thomas until approximately 1:45 p.m. He
     nonetheless failed to appear as promised or at any later time on that date. I heard nothing further
     until this morning, when I received a phone call from Mr. Thomas advising me that he had not
     appeared on September 6, 2019, as planned, because he was exhausted as a result of his work
     schedule. He explained that he has had difficulty in communicating with me because his cell phone
     has not been working. We discussed possible alternative dates for the deposition. He requested that
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I provide a letter for his employer once an alternative date for the deposition was agreed upon. I
intend to reach out to counsel for all parties to discuss rescheduling this deposition if the Court
grantsthis application.

              With regard to Christopher Bowman, one of Mr. Paul's roommates at Narco
Freedom House # 19 who was present during the underlying incident, this office had arranged to
conduct his deposition by videoconference link with the U. S. District Courthouse for the Southern
Distinct of Ohio in Columbus, as he was believed to be living in that area. This office learned
earlier this week, however, that the Ohio investigator whom they had retained had been unable to
effect service. We would like to continue to attempt to locate Mr. Bowmanbecausehe is the only
witness who was present with Mr. Paul in their shared apartment at the time of the incident and is
believed to be the last person to have had direct contact with Mr. Paul prior to his interactions with
the defendantpolice officers.

                Overthe pastmonth. City Defendantshave continueddiligentlyto attempt to arrange
these final depositions in this matter. After Mr. Thomas failed to appear on September 6, 2019,
this office had delivered to his home a letter explaining the importance of appearing to testimony
without Court intervention. We plan to forward a similar letter to Mr. Perez. Our private
investigations service has continued to make efforts to locate Mr. Bowman by interviewing persons
at his prior addresses and at least one person who is believed to a family member. As described
above, City Defendantsbelievethat the individualsin question areimportant percipientwitiiessesto
the events underlying the allegations made against them in this lawsuit and that they may be
prejudiced if they are unable to conduct the dqpositions. All counsel for the parties have convened
numerous times at the Law Department for the depositions, with a court reporter present, to no
avail. To avoid any further or undue burden or expense to counsel for plaintiff and co-defendants
HHC andNorth Central Bronx Hospital, City defendants propose that additional time is needed to
contact the witnesses and communicate with them to confimi the depositions so that counsel will
not be required to appear for no useful purpose. City Defendants also wish to avoid burdening the
Court with contempt motions when we are not certain as of yet that we cannot obtain the voluntary
compliance of the witaiesses. As Judge Broderick has set a post-discovery conference to take place
on November 22, 2019, City Defendantsbelieve that no delay or prejudice will result if the Court
allowsthemto conductthese depositionsin the interim.

              For the above reasons, City Defendants ask that the Court allow City Defendants to
conduct the depositions of non-party witnesses Terrence Thomas, Rafael Perez, and Christopher
Bowman, to take place on agreed-upon dates up to the date of the post-discovery conference that
hasbeensetby JudgeBroderick.

               Thank you for your consideration herein.

                                                         Respectfully submitted,

                                                                  /s/

                                                         Susan P. Scharfstein


 In their August 1, 2019 letter to the Court, City Defendants described in detail their efforts to that date to
locate and serve the six non-partycivilianwitnesseswhomtheywishedto deposeover approximatelythe last
year.

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ec:   All Counsel (by ECF)




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